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10   PHILLIP WALKER
11
12
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
13
14   Phillip Walker,                          Case No.:
15
              Plaintiff,
16
     v.                                       COMPLAINT FOR VIOLATIONS
17                                            OF: AMERICANS WITH
     Sterik Inglewood, L.P., a Delaware       DISABILITIES ACT OF 1990, 42
18   Limited Partnership; and Does 1-10,      U.S.C. § 12181 et seq.; UNRUH
                                              CIVIL RIGHTS ACT, CALIFORNIA
19                                            CIVIL CODE § 51 et seq.
               Defendants.
20
21
22                                            DEMAND FOR JURY TRIAL

23
24
25        Most Americans, especially Seniors, become disabled at some point in life…
26
27
28

                                        COMPLAINT
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 1         Plaintiff Phillip Walker (hereinafter referred to as “Plaintiff,”) complains of
 2
     Sterik Inglewood, L.P., a Delaware Limited Partnership; and Does 1-10 (each,
 3
 4   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:

 5                              I.     PARTIES
 6
           1.      Phillip Walker is a senior citizen who has trouble walking. Advanced
 7
     arthritis in his right hip has impaired his walking and standing ability. He uses a
 8
     seat cane. Advanced arthritis in his right hip has impaired his walking and
 9
10   standing ability. He also has difficulty moving his upper torso and lower body in

11   concert. Plaintiff is qualified as being disabled pursuant to 42 USC Section

12   12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq. and 52,
13   et seq., and other statutory laws which protect the rights of “disabled persons”.
14   Plaintiff is a California resident with physical disabilities. Plaintiff has been issued
15   a blue permanent disability Disabled Person Parking Placard by the State of
16   California.
17         2.      Defendant Sterik Inglewood, L.P., a Delaware Limited Partnership
18
     owned the property (“Property”) located at 3200 W Century Blvd, Inglewood, CA
19
20   90303, at all relevant times.
21         3.      There is a business establishment on the Property known as “Food 4
22
     Less” hereinafter “business”).
23
24         4.      DOES 1 through 10 were at all relevant times lessors, lessees, property
25
     owners, subsidiaries, parent companies, employers, employees, agents, corporate
26
     officers, managers, principles and/or representatives of Defendants. Plaintiff is
27
28   unaware of the true names and capacities of Defendants sued herein, as DOES 1
                                           2
                                       COMPLAINT
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 1   through 10, inclusive, and therefore, sues those Defendants by fictitious names.
 2
     Plaintiff requests that the Court grant leave to amend this complaint to allege the
 3
 4   true names and capacities when determined by whatever source.

 5         5.     Plaintiff alleges that Defendants at all times have been and are relevant
 6
     to this cause of action, the owners, franchisees, lessees, general partners, limited
 7
 8   partners, agents, employees, employers, represent partners, subsidiaries, partner
 9   companies, and/or joint ventures of the remaining Defendants and were acting
10
     within the course and scope of that relationship. Plaintiff is further informed and
11
12   believes and alleges that each of the Defendants gave consent to, ratified, and/or
13   authorized the acts alleged of each of the remaining defendants.
14
           6.     Plaintiff visited the public accommodations owned and operated by
15
16   Defendants with the intent to purchase and/or use the goods, services, facilities,
17   privileges, advantages, or accommodations operated and/or owned by Defendants.
18
                               II.    JURISDICTION & VENUE
19
20         7.     This Court has subject matter jurisdiction over this action pursuant to
21
     28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
22
     Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
23
24         8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
25
     action, arising from the same nucleus of operative facts and arising out of the same
26
     transactions, is also brought under California’s Unruh Civil Rights Act, which act
27
28   expressly incorporates the ADA.
                                           3
                                       COMPLAINT
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 1          9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
 2
     founded on the fact that the real property which is the subject of this action is
 3
 4   located in this district and that Plaintiff’s cause of action arose in this district.

 5                               III.   FACTS
 6
            10.    The Property owned by Defendants is a facility which is open to the
 7
 8   public and is a business establishment.
 9          11.    Plaintiff alleges that the Property has been newly constructed and/or
10
     underwent remodeling, repairs, or alterations since 1992, and that Defendants have
11
12   failed to comply with California access standards which applied at the time of each
13   new construction and/or alteration or failed to maintain accessible features in
14
     operable working condition.
15
16          12.    Plaintiff visited the Property during the relevant statutory period on
17   three (3) separate occasions, in August 2020, September 2020 and October 2020 to
18
     patronize the business.
19
20          13.    Defendants did not offer persons with disabilities with equivalent
21
     facilities, privileges and advantages offered by Defendants to other patrons.
22
            14.    Plaintiff encountered barriers (both physical and intangible) that
23
24   interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
25
     services, privileges, and accommodations offered at the Property.
26
            15.    Parking for patrons visiting the Property are among the facilities,
27
28   privileges, and advantages offered by Defendants to patrons of the Property.
                                            4
                                        COMPLAINT
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 1         16.   However, there is no accessible parking for disabled patrons. Not one
 2
     single space. The parking space designated for disabled persons does not comply
 3
 4   with the Americans with Disabilities Act (“ADA”).

 5         17.   The parking area does not comply with the latest California Building
 6
     Codes (“2010 CBC”).
 7
 8         18.   Parking is one of the facilities, privileges, and advantages offered by
 9   Defendants to patrons of the Property.
10
           19.   When Plaintiff visited the Property, Plaintiff experienced access
11
12         barriers related to parking, signage, restrooms, and paths of travel.
13         Plaintiff encountered the following barriers at Defendant’s Property:
14
15
16         Food 4 Less and the Property it sits on does not have accessible
17         designated disabled parking spaces, adjacent loading/unloading access
18
           aisles, paths of travel, and restrooms. The parking spaces and access
19
20         aisles have many areas with cracks, and uneven damaged ground. The
21
           paths of travel are urgently in need of repair due to its severe damaged
22
           ground surface, cracks, and abrupt changes in level. The paths of travel
23
24         are hazardous and inaccessible.
25
26
           VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
27
28         ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
                                          5
                                      COMPLAINT
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 1         of travel.) An accessible route of travel is not provided to all entrances and
 2
           portions of the building, entrances and/or between the building and a public
 3
 4         way.

 5
 6
           VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
 7
 8         There is no accessible path of travel into the building entrances. There is no
 9         safe way for Plaintiff to travel from the parking area to the entrance of the
10
           Property.
11
12
13         VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
14
           (Directional signage.) There is no directional signage showing an accessible
15
16         path of travel.
17
18
           VIOLATION of 2010 ADAS 403.3. (Path of travel- cross slope.) The cross
19
20         slope of the accessible path of travel is greater than two (2) percent.
21
22
           VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
23
24         502.2. (Faded paint – accessible space lines.) The paint used for the
25
           designated accessible parking space is so worn and aged that it cannot be
26
           seen. This makes it unclear where the actual parking space is. The required
27
28         width dimensions are not painted as required. This makes it difficult for
                                          6
                                      COMPLAINT
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 1         Plaintiff to park in the designated space.
 2
 3
 4         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of

 5         space). The parking space designated for disabled persons measures less than
 6
           nine (9) feet wide. This makes it difficult for Plaintiff to park in the
 7
 8         designated space.
 9
10
           VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
11
12         space.) The designated disabled parking space measures less than eighteen
13         (18) feet long, which makes it difficult for Plaintiff to park in the designated
14
           space.
15
16
17         VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
18
           changes in level.) The path of travel from the space reserved for disabled
19
20         patrons has an uneven ground surface with changes in level exceeding one-
21         half inch.
22
23
24         VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
25
           § 502.4. (Slope of parking space.) The parking space reserved for disabled
26
           patrons has surface slopes in it that are greater than two (2) percent.
27
28
                                           7
                                       COMPLAINT
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 1         VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 2
           § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
 3
 4         access aisle for the space reserved for disabled persons has surface slopes in

 5         it that are greater than two (2) percent.
 6
 7
 8         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
 9         2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
10
           aisle to the designated disabled parking space is less than eighteen (18) feet
11
12         long. This makes it difficult for Plaintiff to use the adjacent space to safely
13         disembark from the car.
14
15
16         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
17         2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
18
           loading/unloading access aisle to the designated disabled parking space is
19
20         less than five (5) feet wide. This makes it difficult for Plaintiff to use the
21         adjacent space to safely disembark from the car.
22
23
24         VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
25
           § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
26
           access aisle for the accessible parking space is missing entirely. This makes it
27
28         difficult for Plaintiff to use the adjacent space to safely disembark from the
                                          8
                                      COMPLAINT
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 1         car.
 2
 3
 4         VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for

 5         the designated accessible parking spaces is faded and cannot be seen. There is
 6
           no compliant surface signage at the designated disabled parking space. The
 7
 8         International Access Symbol is so faded and worn that it cannot be read. The
 9         street surface (pavement) signage is unreadable because the paint has faded.
10
11
12         VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
13         surface sign.) The words “NO PARKING” is fading from the adjacent
14
           loading/unloading access aisles. As a result, non-disabled patrons park in the
15
16         loading/unloading access aisles, blocking Plaintiff from being able to use the
17         access aisles. Cars and trucks park or block the access aisles because the
18
           paint is faded and difficult to read.
19
20
21         VIOLATION 2010 CBC § 1129B.4. (Sign missing – $250 fine.) The sign
22
           warning of the minimum $250 fine for unauthorized parking in the
23
24         designated disabled accessible parking space is missing entirely.
25
26
           VIOLATION of 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4. (Sign off-
27
28         center.) Although there is a sign showing where the designated accessible
                                           9
                                       COMPLAINT
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  1         space parking is, it is not centered as required, but off to the side. The sign
  2
            was posted away from the middle of the parking space, rather than centered
  3
  4         at the space as required. This makes it more difficult for people and parking

  5         enforcement to determine which space is intended for the sole use of disabled
  6
            persons.
  7
  8
  9         VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
 10
            loading/unloading access aisle must adjoin an accessible route to an
 11
 12         accessible entrance. It does not.
 13
 14
            VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Changes in
 15
 16         level of ground surface.) Within the only parking space reserved for disabled
 17         patrons, the asphalt is uneven, with depressions, dips, divots, and uneven
 18
            ground. There are sunken parts. There are cracked parts. This makes
 19
 20         travelling in this area difficult.
 21
 22
            VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
 23
 24         parking – uneven surface.) The path of travel from the designated disabled
 25
            parking spaces to the entrance has damaged ground which is uneven. The
 26
            damaged ground has pavement distresses. Parts of the ground surface are not
 27
 28         flush. The surface of the ground within the designated path of travel leading
                                            10
                                         COMPLAINT
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  1         into the entrance is not flat. This makes traveling in this area difficult. The
  2
            path of travel from the designated disabled parking spaces to the entrance
  3
  4         runs into these pavement distresses which have caused changes in level

  5         greater than one-half inch, but no ramp is provided. These steep changes in
  6
            level create uneven surfaces. The types of pavement distresses which exist
  7
  8         include but are not limited to: alligator (fatigue) cracking, joint reflection
  9         cracking, potholes, asphalt bleeding, patching near utilities, block cracking,
 10
            raveling, stripping, corrugation and shoving, and depressions. These
 11
 12         pavement distresses are made worse and exacerbated by designs which do
 13         not follow the ADAAG. These areas should be fixed immediately because
 14
            they are also a tripping and falling hazard.
 15
 16
 17         VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
 18
            4.6.3. (Marked path of travel.) There is no marked path of travel from the
 19
 20         disabled parking space to the entrance. There is no safe way for Plaintiff to
 21         park there and then travel to the entrance of the Property. Plaintiff is forced
 22
            to travel a dangerous route, behind parked cars and in the vehicle drive path
 23
 24         to move from the space to the entrance.
 25
 26
            VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS § 4.8.1. (Ramps.)
 27
 28         The accessible route of travel has a slope greater than 1:20 (5%) but is not a
                                          11
                                       COMPLAINT
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  1         compliant ramp.
  2
  3
  4         VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The

  5         ramps do not have a minimum clear width of forty-eight (48) inches.
  6
  7
  8         VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
  9         possible slope of ramp.) The least possible slope is not used for the ramp
 10
            leading into the business.
 11
 12         VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
 13         cross slope of ramp.) The cross slope of the ramp was greater than 2%.
 14
 15
 16         VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
 17         landings.) Level ramp landings must be provided at the top and bottom of
 18
            each ramp. They are not provided.
 19
 20
 21         VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
 22
            ramp landings.) The landing of ramps must be at least as wide as the ramp
 23
 24         run leading to it, but they are not.
 25
 26
            VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
 27
 28         4.8.4(3). (Minimum landing width and length for top ramp landings.) The
                                            12
                                         COMPLAINT
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  1         ramp’s top landing is not sixty inches (60”) wide and long as required.
  2
  3
  4         VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for

  5         bottom ramp landings.) The ramp’s bottom landing is not seventy-two
  6
            inches (72”) in length as required.
  7
  8
  9         VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
 10
            (Minimum landing size for change of direction in ramp.) The change of
 11
 12         direction in the ramp does not have a minimum landing size of 60” x 60”.
 13
 14
            VIOLATION of 2010 CBC § 1127B.5.7; 1991 ADAS § 4.7.7. (Detectable
 15
 16         warnings - curb ramp.) Detectable warnings extending the full width and
 17         depth of the ramp are not installed where curb ramps lead to an accessible
 18
            route.
 19
 20
 21         VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front door
 22
            entrance threshold and weather strip changes in level.) Inside the building,
 23
 24         the front door entrance threshold and weather strip has changes in level
 25
            greater than one-half inch but provides no ramps. This makes traversing this
 26
            area difficult.
 27
 28
                                         13
                                      COMPLAINT
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  1         VIOLATION of 2010 CBC § 1115B.8.4; 1991 ADAS § 4.16.6; 2010
  2
            ADAS § 604.7. (Toilet paper dispenser.) The toilet tissue dispenser is
  3
  4         mounted more than twelve (12) inches from the front edge of the toilet seat,

  5         making it hard for Plaintiff to use the toilet.
  6
  7
  8         VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
  9         The sanitary facilities are missing door signage indicating an accessible
 10
            facility.
 11
 12         Plaintiff personally encountered the foregoing barriers.
 13         20.      These inaccessible conditions denied Plaintiff full and equal access
 14
      and caused difficulty, humiliation, and/or frustration.
 15
 16         21.      The barriers existed during each of Plaintiff’s visits in 2020.
 17         22.      Plaintiff alleges that Defendants knew that the foregoing architectural
 18
      barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
 19
 20   that the architectural barriers prevented access, and that the noncompliance with the
 21   ADA Accessibility Guidelines and Title 24 of the California Building Code was
 22
      intentional.
 23
 24         23.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is
 25
      reasonably deterred from returning to Defendants’ public accommodation facilities
 26
      because of the knowledge of barriers to equal access, relating to Plaintiff’s
 27
 28   disabilities, that continue to exist at the Property.
                                             14
                                          COMPLAINT
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  1         24.    Defendants have failed to maintain in working and useable conditions
  2
      those features necessary to provide ready access to persons with disabilities.
  3
  4         25.    Defendants have the financial resources to remove these barriers

  5   without much expense or difficulty in order to make their Property more accessible
  6
      to their mobility impaired customers. The removal of these barriers is readily
  7
  8   achievable. The United States Department of Justice has determined that removal of
  9   these types of barriers is readily achievable to remove.
 10
            26.    Defendants refuse to remove these barriers.
 11
 12         27.    On information and belief, Plaintiff alleges that Defendants’ failure to
 13   remove these barriers was intentional, because the barriers are logical and obvious.
 14
      During all relevant times, Defendants had authority, control, and dominion over
 15
 16   these conditions; thus, the absence of accessible facilities was not a mishap, but
 17   rather an intentional act.
 18
            28.    These barriers to access are described herein without prejudice to
 19
 20   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
 21
      access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
 22
      (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 23
 24   have all barriers that relate to his or her disability removed, regardless of whether
 25
      he or she personally encountered them).
 26
          IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 27
 28        WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
                                           15
                                        COMPLAINT
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  1                                  (Against All Defendants)
  2
            29.    Plaintiff alleges and incorporates by reference each and every
  3
  4   allegation contained in all prior paragraphs of this complaint.

  5         30.    Title III of the ADA prohibits discrimination against any person on the
  6
      basis of disability in the full and equal enjoyment of the goods, services, facilities,
  7
  8   privileges, advantages, or accommodations of any place of public accommodation
  9   by any person who owns, leases, or operates a place of public accommodation.
 10
      U.S.C. § 12182(a).
 11
 12         31.    Defendants discriminated against Plaintiff by denying “full and equal
 13   enjoyment” and use of the goods, services, facilities, privileges, or accommodations
 14
      of Defendant’s facility during each visit and each incident of deterred visit.
 15
 16         32.    The acts and omissions of Defendants herein were/are in violation of
 17   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
 18
            33.     Pursuant to the ADA, discrimination is a “failure to make reasonable
 19
 20   modifications in policies, practices or procedures, when such modifications are
 21
      necessary to afford goods, services, facilities, privileges, advantages or
 22
      accommodations to individuals with disabilities, unless the entity can demonstrate
 23
 24   that making such modifications would fundamentally alter the nature of such goods,
 25
      services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
 26
      12182(b)(2)(A)(ii).
 27
 28         34.    The ADA requires removal of architectural barriers in existing
                                           16
                                        COMPLAINT
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  1   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
  2
      (“discrimination includes … a failure to remove architectural barriers, and
  3
  4   communication barriers that are structural in nature, in existing facilities, … where

  5   such removal is readily achievable”). The term “readily achievable” is defined as
  6
      “easily accomplishable and able to be carried out without much difficulty or
  7
  8   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
  9   Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
 10
      the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
 11
 12   36, Appendix A.
 13         35.    If removal of any barrier is not readily achievable, a failure to make
 14
      goods, services, facilities, or accommodations available through alternative
 15
 16   methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
 17   12182(b)(2)(A)(v).
 18
            36.    Plaintiff alleges that Defendants can easily remove the architectural
 19
 20   barriers at their facility without much difficulty or expense, and that Defendants
 21
      violated the ADA by failing to remove those barriers because removal was readily
 22
      achievable. There are companies in the area which can repaint parking areas for as
 23
 24   little as $350. Defendants can afford such costs, which are a fraction of what
 25
      Defendants receive in rental profits for such a large and expensive property.
 26
            37.    Alternatively, if it was not “readily achievable” for Defendants to
 27
 28   remove barriers at their facilities, Defendants violated the ADA by failing to make
                                          17
                                       COMPLAINT
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  1   the required services available through alternative methods, which are readily
  2
      achievable.
  3
  4         38.     On information and belief, the facility was modified after January 26,

  5   1992, mandating compliance access requirements under the ADA.
  6
            39.     The ADA requires that facilities altered in a manner that affects or
  7
  8   could affect their usability must be made readily accessible to individuals with
  9   disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
 10
            40.     Plaintiff alleges that Defendants altered the facilities at the Property in
 11
 12   a manner that violated the ADA, and/or failed to make the Property readily
 13   accessible to physically disabled persons, including Plaintiff, to the maximum
 14
      extent feasible.
 15
 16         41.     The ADA also requires reasonable modifications in policies, practices,
 17   or procedures, when such modifications are necessary to afford goods, services,
 18
      facilities, privileges, advantages, or accommodations to individuals with
 19
 20   disabilities, unless the entity can demonstrate that making such modifications
 21
      would fundamentally alter the nature of such goods, services, facilities, privileges,
 22
      advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 23
 24         42.     Plaintiff alleges that Defendants violated the ADA by failing to make
 25
      reasonable modifications in policies, practices, or procedures at the Property when
 26
      these modifications were necessary to afford (and would not fundamentally alter the
 27
 28   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
                                            18
                                         COMPLAINT
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  1          43.    Plaintiff seeks a finding from this Court that Defendants violated the
  2
      ADA, so that Plaintiff may pursue damages under California’s Unruh Civil Rights
  3
  4   Act for Disable Persons Act.

  5          44.    Here Defendants’ failure to make sure that accessible facilities were
  6
      available and ready to be used by the Plaintiff was/is a violation of law.
  7
  8          45.    Plaintiff would like to continue to frequent Defendants’ property
  9    because it is close to his home. However, Plaintiff is deterred from doing so
 10
       because Plaintiff has been discriminated against and is aware of accessibility
 11
 12    barriers at the Property.
 13          46.    Among the remedies sought, Plaintiff seeks an injunction order
 14
       requiring compliance with state and federal access laws, and remediation of all the
 15
 16    existing access violations at the Property.
 17      V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
 18
                                     (Cal. Civ. Code § 51-53.)
 19
 20
                                     (Against All Defendants)
 21
 22          47.    Plaintiff repleads and incorporates by reference, as though fully set

 23    forth herein, the allegations contained in all prior paragraphs of this complaint.
 24
             48.    California Civil Code § 51 states, in part: “All persons within the
 25
 26    jurisdictions of this state are entitled to the full and equal accommodations,

 27    advantages, facilities, privileges, or services in all business establishments of every
 28
                                            19
                                         COMPLAINT
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  1   kind whatsoever.”
  2
               49.   California Civil Code § 51 also states, in part: “No business
  3
  4   establishment of any kind whatsoever shall discriminate against any person in this

  5   state because of the disability of the person.”
  6
               50.   California Civil Code § 51(f) specifically incorporates, by reference,
  7
  8   an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
  9   Act”).
 10
               51.   The Unruh Act also provides that a violation of the ADA, or California
 11
 12   state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
 13   51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
 14
      Cal. 1994).
 15
 16            52.   Defendants’ above-mentioned acts and omissions have violated the
 17   Unruh Act by denying Plaintiff his rights to full and equal use of the
 18
      accommodations, advantages, facilities, privileges, and services they offer, on the
 19
 20   basis of Plaintiff’s disability.
 21
               53.   Defendants’ above-mentioned acts and omissions have also violated
 22
      the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
 23
 24   and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
 25
               54.   Because violation of the Unruh Act resulted in difficulty, discomfort,
 26
      and/or embarrassment for Plaintiff, the Defendants are each also responsible for
 27
 28   statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
                                            20
                                         COMPLAINT
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  1         55.      Plaintiff was actually damaged.
  2
            56.      Plaintiff was damaged by Defendants’ wrongful conduct, and seeks
  3
  4   statutory minimum damages of four thousand dollars ($4,000) for each offense.

  5                                  PRAYER FOR RELIEF
  6
                     WHEREFORE, Plaintiff prays for judgment against Defendants, as
  7
  8   follows:
  9         1. For injunctive relief, compelling Defendants to comply with the
 10
                  Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 11
 12               Plaintiff is not invoking section 55 of the California Civil Code and is not
 13               seeking injunctive relief under the Disabled Person Acts.
 14
            2. Damages under the Unruh Civil Rights Act, which provides for actual
 15
 16               damages and a statutory minimum of $4,000 per each offense.
 17         3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
 18
                  42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 19
 20                                      JURY DEMAND
 21   Plaintiffs demand a trial by jury on all issues so triable.
 22
 23
 24   DATED: December 11, 2020           THE LAW OFFICE OF HAKIMI & SHAHRIARI
 25
 26                                      By:   /s/ Peter Shahriari, Esq.____________
 27                                            PETER SHAHRIARI, ESQ.
                                               Attorney for Plaintiff, Phillip Walker
 28
                                            21
                                         COMPLAINT
